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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF AMERICA            )
                                     )
 Plaintiff,                          )
                                     )
 vs.                                 )       CAUSE NO. 2:08-CR-011
                                     )
 ROBERT JAMES DAVIS,                 )
                                     )
 Defendant.                          )

                                     ORDER

       This   matter   is   before     the   Court   on     the    Findings     and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant Robert James Davis (DE #183) filed on November 5, 2008.

 No objections have been filed to Magistrate Judge Cherry’s findings

 and recommendations upon a plea of guilty.             Accordingly, the Court

 now ADOPTS those findings and recommendations, ACCEPTS the guilty

 plea of Defendant Robert James Davis, and FINDS the Defendant

 guilty of Count 2 of the Indictment, in violation of Title 21

 U.S.C. § 841(a)(1).

       This matter is set for sentencing on January 21, 2009, at

 12:30 p.m.



 DATED:   December 4, 2008                   /s/RUDY LOZANO, Judge
                                             United States District Court
